
LOGUE, J.
The juvenile defendant argues on appeal that the trial court erred by not finding procedural prejudice when it conducted a Richardson 1 hearing to address an alleged discovery violation by the State. The trial court initially ruled that the State had inadvertently committed a discovery violation by not producing the property receipt for evidence which had been impounded at the scene. However, the transcript of the adjudicatory hearing demonstrates that after a subsequent sidebar conference, the court determined that the "document was provided in discovery. So there's no violation." The ruling that no violation occurred moots any inquiry into whether there was procedural prejudice.
Affirmed.

Richardson v. State, 246 So.2d 771 (Fla. 1971).

